






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00066-CR






Alvie Eugene Bingham, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 119TH JUDICIAL DISTRICT

NO. B-05-1358-S, HONORABLE JAY K. WEATHERBY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Alvie Eugene Bingham was convicted of second-degree driving while
intoxicated, enhanced with one prior felony conviction.  See Tex. Penal Code Ann. § 49.04
(West&nbsp;2003).  Appellant's appointed attorney has filed a brief concluding that the appeal is frivolous
and without merit.  Counsel's brief meets the requirements of Anders v. California, 386 U.S. 738,
743-44 (1967), by presenting a professional evaluation of the record and demonstrating that there
are no arguable grounds to be advanced.  See Penson v. Ohio, 488 U.S. 75, 80 (1988); Anders,
386&nbsp;U.S. at 743-44; High v. State, 573 S.W.2d 807, 811-13 (Tex. Crim. App. 1978); Currie v. State,
516 S.W.2d 684, 684 (Tex. Crim. App. 1974); Gainous v. State, 436 S.W.2d 137, 138 (Tex. Crim.
App. 1969). Appellant has filed a pro se brief arguing that the evidence is insufficient to support his
conviction and that he received ineffective assistance of counsel.  We affirm the conviction.

	We have considered the record, counsel's brief, and appellant's pro se brief and we
agree with counsel that the appeal is frivolous and without merit.  See Bledsoe v. State, 178 S.W.3d
824, 826-27 (Tex. Crim. App. 2005). (1)  We have reviewed the evidence presented to the jury and the
procedures that were observed and find nothing in the record that might arguably support the appeal. 
We affirm the trial court's judgment of conviction and grant counsel's motion to withdraw. (2)


					___________________________________________

					David Puryear, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   September 18, 2008

Do Not Publish
1.   The court of criminal appeals in Bledsoe v. State held:


	When faced with an Anders brief and if a later pro se brief is filed, the court of
appeals has two choices.  It may determine that the appeal is wholly frivolous and
issue an opinion explaining that it has reviewed the record and finds no reversible
error.  Or, it may determine that arguable grounds for appeal exist and remand the
cause to the trial court so that new counsel may be appointed to brief the issues.  Only
after the issues have been briefed by new counsel may the court of appeals address
the merits of the issues raised.   


178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005) (citations omitted).
2.   No substitute counsel will be appointed.  Should appellant wish to seek further review of
his case by the court of criminal appeals, he must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App.
P. 68-79 (governing proceedings in the Texas Court of Criminal Appeals).  Any petition for
discretionary review must be filed within thirty days from the date of either this opinion or the date
this Court overrules the last timely motion for rehearing filed.  See Tex. R. App. P. 68.2.  The
petition must be filed with this Court, after which it will be forwarded to the court of criminal
appeals along with the rest of the filings in the cause.  See Tex. R. App. P. 68.3, 68.7.  Any petition
for discretionary review should comply with rules 68.4 and 68.5 of the rules of appellate procedure. 
See Tex. R. App. P. 68.4, 68.5. 


